          Case 1:12-cv-00701-EGS Document 10 Filed 05/18/12 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

FREDERICK SIMMS,

                         Plaintiff,

         v.                                                    Civil Action No. 12-701 (EGS)

DISTRICT OF COLUMBIA, et al.,

                         Defendants.


                         DEFENDANTS’ PRAECIPE REGARDING
                       STATUS OF D.C. OFFICE OF THE ATTORNEY
                      GENERAL’S DECISION ON CIVIL FORFEITURE


       Defendants respectfully inform the Court that Stephane J. Latour, Chief of the Civil

Enforcement Section, D.C. Office of the Attorney General, has determined that the civil forfeiture

matter concerning the subject vehicle will be assigned to an attorney for further investigation

.

                                               Respectfully submitted,

                                               IRVIN B. NATHAN
                                               Attorney General for the District of Columbia

                                               ELLEN EFROS
                                               Deputy Attorney General
                                               Public Interest Division
       Case 1:12-cv-00701-EGS Document 10 Filed 05/18/12 Page 2 of 2




                                  /s/ Grace Graham__________________________
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                                  DISTRICT OF COLUMBIA




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